  Case 2:07-md-01873-KDE-MBN Document 14480-2 Filed 06/22/10 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
                              NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                               SECTION “N-5"

                                                            JUDGE ENGELHARDT
                                                            MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO ALL CASES

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                                     7.6 CERTIFICATE

       Pursuant to Local Rule 7.6, undersigned counsel for plaintiffs certifies that opposing

counsel for Defendants have been contacted. Counsel for the United States, Adam Dinnell, has

objected to the filing of Plaintiffs’ Fifth Supplemental and Amended Administrative Master

Complaint. However, no other counsel has responses to Plaintiffs’ motion.

       Respectfully submitted, this the 22nd day of June, 2010.



                                     Respectfully submitted:

                                     FEMA TRAILER FORMALDEHYDE
                                     PRODUCT LIABILITY LITIGATION

                                     BY:    s/Gerald E. Meunier
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Case 2:07-md-01873-KDE-MBN Document 14480-2 Filed 06/22/10 Page 2 of 2




                                s/Justin I. Woods
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